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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 PROTECT DEMOCRACY PROJECT,
                                                                Case No. 1:25-cv-01111
                        Plaintiff,

        v.

 U.S. OFFICE OF MANAGEMENT & BUDGET
 et al.,

                        Defendants.




                        DECLARATION OF DANIEL F. JACOBSON

I, Daniel F. Jacobson, declare as follows:

       1.​     I am the founder of Jacobson Lawyers Group, PLLC, and serve as counsel for

Plaintiff Protect Democracy Project in the above-captioned case. I submit this declaration in

support of Plaintiff’s Motion for Expedited Summary Judgment, or in the Alternative a

Preliminary Injunction or a Writ of Mandamus.

       2.​     Exhibit 1 is a true and correct declaration of William Ford, policy advocate at

Protect Democracy.

       3.​     Exhibit 2 is a true and correct declaration of Joseph Carlile, managing director of

Bluestem Consulting, LLC.

       4.​     Exhibit 3 is a true and correct copy of Samuel Bagenstos, the Frank G. Millard

Professor of Law at the University of Michigan Law School and the Arlene Susan Kohn

Professor of Social Policy at the University of Michigan Gerald R. Ford School of Public Policy.



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       5.​     Exhibit 4 is a true and correct copy of Office of Management and Budget Circular

No. A-11, Part 4: Instructions on Budget Execution (2024).

       6.​     Exhibit 5 is a true and correct copy of Project 2025, Heritage Found., Mandate for

Leadership: The Conservative Promise, 1, 43-45 (2023).

       7.​     Exhibit 6 is a true and correct copy of GAO, B- 331564, Office of Management

and Budget—Withholding of Ukraine Security Assistance (Jan. 16, 2020).

       8.​     Exhibit 7 is a true and correct copy of Chair Rosa DeLauro, H.R. 2471, Funding

for the People: Division-by-Division Summary of Appropriations Provisions.

       9.​     Exhibit 8 is a true and correct copy of Protect Democracy, Press Release, OMB

Implements Apportionment Transparency Program, a Key Pro-Democracy Reform (July 13,

2022), also available at https://tinyurl.com/4e3d8kxd.

       10.​    Exhibit 9 is a true and correct copy of Using OMB’s Apportionment Website:

Resources for Congress, Protect Democracy (Nov. 3, 2022), also available at

https://tinyurl.com/297a79m2.

       11.​    Exhibit 10 is a true and correct copy of Princeton Initiative, The Power of the

Purse (May 2024), also available at https://tinyurl.com/3av4dbdx.

       12.​    Exhibit 11 is a true and correct copy of the homepage of OpenOMB.org.

       13.​    Exhibit 12 is a true and correct copy of William Ford, et al., Is the president

following the law when it comes to spending?, If You Can Keep It (Oct. 2, 2024), also available

at https://tinyurl.com/2j6k4v6e.

       14.​    Exhibit 13 is a true and correct copy of Donald J. Trump, Using Impoundment to

Cut Waste, Stop Inflation, and Crush the Deep State, Agenda47 (June 20, 2023), also available at

https://perma.cc/W36M-GA5P.




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       15.​       Exhibit 14 is a true and correct copy of an excerpt of the public transcript of

Russell Vought’s confirmation hearing, also available at https://tinyurl.com/wreyh37d (last

visited Apr. 12, 2025).

       16.​       Exhibit 15 is a true and correct copy of Paul Krawzak, White House Scraps Public

Spending Database, ROLL CALL (Mar. 24, 2025), also available at https://tinyurl.com/54zaeye6.

       17.​       Exhibit 16 is a true and correct copy of Letter from Russell T. Vought to The Hon.

Patty Murray (Mar. 29, 2025).

       18.​       Exhibit 17 is a true and correct copy of DeLauro & Murray, Press Release, What

are They Hiding? (Mar. 24, 2025), also available at https://perma.cc/93GE-K27U.

       19.​       Exhibit 18 is a true and correct copy of GAO, Letter to OMB on Apportionments

(Apr. 8, 2025).



I declare under penalty of perjury that the foregoing is true and correct.

Executed on April 22, 2025 in Washington, DC.


                                                          /s/ Daniel F. Jacobson​
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